Case 2:13-bk-39026-BR         Doc 116 Filed 12/08/15 Entered 12/08/15 16:46:28               Desc
                               Main Document     Page 1 of 6



 1   Robert M. Aronson (CA Bar No. 81487)
     LAW OFFICE OF ROBERT M. ARONSON, APC
 2   444 S. Flower Street, Suite 1700
     Los Angeles, CA 90071
 3   Telephone: (213) 688-8945
     Fax: (213) 688-8948
 4   Email: robert@aronsonlawgroup.com
 5   [Proposed] Special Counsel for Chapter 7 Trustee Sam Leslie
 6
                               UNITED STATES BANKRUPTCY COURT
 7
                  CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION
 8

 9

10   In re                                              CASE NO. 2:13-bk-39026-BR

11   MARDIROS HAIG MIHRANIAN,                           Chapter 7

12                  Debtor.                             ADVERSARY NO. [To be Assigned]

13                                                      COMPLAINT FOR:
     SAM LESLIE,
14                                                      (1) AVOIDANCE OF FRAUDULENT
                            Plaintiff,                  TRANSFER UNDER 11 U.S.C. §§ 544;
15                                                      (2) AVOIDANCE OF FRAUDULENT
                    vs.                                 TRANSFER UNDER 11 U.S.C. §§ 548;
16                                                      (3) RECOVERY OF AVOIDED;
     TAKOUHIE BARTAMIAN,                                 TRANSFERS UNDER 11 U.S.C. §§ 550 AND
17                                                      551;
                           Defendant                    (4) ACCOUNTING: AND
18                                                      (5) DISALLOWANCE OF CLAIM

19                                                      DATE:
                                                        TIME: [To Be Set by Summons]
20                                                      PLACE:

21

22

23
                                              JURISDICTION
24
             1.     The Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C.
25
     sections 157 and1324 in that this action arises in and relates to the bankruptcy case pending in the
26
     United States Bankruptcy Court for the Central District of California entitled In Re Mardiros Haig
27

28   Mihranian, Case No. 2:13-bk-39026-BR.
Case 2:13-bk-39026-BR        Doc 116 Filed 12/08/15 Entered 12/08/15 16:46:28                 Desc
                              Main Document     Page 2 of 6



 1           2.      Plaintiff as the Chapter 7 Trustee has standing to bring this action pursuant to 11
 2   U.S.C. § 323.
 3
             3.      This adversary proceeding is a core proceeding under 28 U.S.C. §§ 157(b)(2) and
 4
     1334 and this Court has the constitutional authority to enter a final judgment on these claims. To
 5
     the extent any claim for relief contained herein is determined not to be a core proceeding Plaintiff
 6

 7
     consents to the entry of final judgment and orders by the Bankruptcy Court.

 8           4.      Venue properly lies in the Central District of California in that this adversary

 9   proceeding arises in or is related to a case under Title 11 of the United States Code as provided in
10   28 U.S.C. sections 1408 and 1409.
11
                                                   PARTIES
12
             5.      Plaintiff Sam Leslie (hereafter “Plaintiff” or “Trustee”) is the Chapter 7 Trustee for
13
     Mardiros Haig Mihranian, debtor in the above captioned case (“Debtor”).
14
             6.      Plaintiff alleges that at all relevant times Defendant Takhouie Bartamian
15
     (“Defendant”) was and is an individual residing in the County of Los Angeles, California.
16

17                                      GENERAL ALLEGATIONS
             7.      The Debtor filed this case on December 9, 2013 (“Petition Date”).
18

19           8.      Pursuant to Schedule B and the Statement of Affairs filed by the Debtor, the

20   Debtor is the 100% owner of Medical Clinic & Surgical Specialties of Glendale, Inc.

21   (“MCSSG”).
22
             9.      The Defendant has been employed either by the Debtor or MCSSG since at least
23
     1998.
24
             10.     The Debtor’s interest in the sum of at least $1,747,376.00 was transferred to the
25
     Defendant in the four (4) years prior to the Petition Date (the “544 Transfers”).
26

27           11.     The Debtor received no consideration, or did not receive reasonably equivalent

28   value, from Defendant for the 544 Transfers.

                                                        1
Case 2:13-bk-39026-BR        Doc 116 Filed 12/08/15 Entered 12/08/15 16:46:28                   Desc
                              Main Document     Page 3 of 6



 1                                      FIRST CLAIM FOR RELIEF
 2                       Avoidance and Recovery of Transfers As Against Defendant
 3
                                            [11 U.S.C. Section 544]
 4
               12.   Plaintiff realleges the allegations at paragraphs 1 through 11 as if fully set forth
 5
     herein.
 6

 7
               13.   Pursuant to 11 U.S.C. § 544, Plaintiff acquired the rights of an existing unsecured

 8   creditor or a secured creditor under the California Uniform Fraudulent Transfer Act (Cal. Civ.

 9   Code §§ 3439 – 3439.12)( the”Act”).
10             14.   The limitations period for bringing a claim under the Act is four (4) years from the
11
     date of any transfer.
12
               15.   Plaintiff may avail himself under 11 U.S.C. § 544 of the Act to avoid the fraudulent
13
     544 Transfers of the Debtor’s interest in property to Defendant.
14

15             16.   The 544 Transfers by the Debtor to the Defendant were made at a time when the

16   Debtor was insolvent, or the 544 Transfers rendered the Debtor insolvent.

17             17.   The 544 Transfers by the Debtor to Defendant were made with actual intent to
18
     hinder, delay or defraud a creditor or creditors of the Debtor.
19
               18.   In the alternative, the 544 Transfers by the Debtor were made without receiving a
20
     reasonably equivalent value in exchange for such 544 Transfers and (a) the Debtor was engaged in
21
     a business or a transaction for which the remaining assets of the Debtor were unreasonably small
22

23   in relation to the business or transaction; or (b) the Debtor intended to incur or believed or

24   reasonably should have believed that he would incur, debts beyond his ability to pay as they
25   became due.
26
                                      SECOND CLAIM FOR RELIEF
27
                                     Avoidance and Recovery of Transfers
28

                                                        2
Case 2:13-bk-39026-BR        Doc 116 Filed 12/08/15 Entered 12/08/15 16:46:28                   Desc
                              Main Document     Page 4 of 6



 1                                              [11 U.S.C. §548]
 2             19.   Plaintiff realleges the allegations at paragraphs 1 through 18 as if fully set forth
 3
     herein.
 4
               20.   Transfers were made to the Defendant in the approximate amount of at least
 5
     $873,688 within the two (2) years prior to the Petition Date (the “548 Transfers”).
 6

 7
               21.   The 548 Transfers to Defendant were made with actual intent to hinder, delay or

 8   defraud a creditor or creditors of the Debtor.

 9             22.   In the alternative, the 548 Transfers by the Debtor to Defendant were made without
10   receiving a reasonably equivalent value in exchange for such 548 Transfers and (a) the Debtor was
11
     engaged in a business or a transaction for which the remaining assets of the Debtor were
12
     unreasonably small in relation to the business or transaction; or (b) the Debtor intended to incur or
13
     believed or reasonably should have believed that he would incur, debts beyond his ability to pay as
14

15   they became due

16             23.   The Debtor was insolvent on the dates that such 548 Transfers were made, or

17   became insolvent as a result of such 548 Transfers.
18
               24.   Based on the foregoing, the 548 Transfers to Defendant made by the Debtor within
19
     the past two (2) years were fraudulent transfers under 11 U.S.C. § 548.
20
                                       THIRD CLAIM FOR RELIEF
21
                                      For Recovery of Avoided Transfers
22

23                                         [11 U.S.C. §§ 550 & 551]

24             25.   Plaintiff realleges the allegations at paragraphs 1 through 24 as though fully set
25   forth herein.
26
               26.   Pursuant to 11 U.S.C. § 550 (a), any transfers avoided under Sections 544 and 548
27
     of the Bankruptcy Code are recoverable by the Trustee.
28

                                                        3
Case 2:13-bk-39026-BR        Doc 116 Filed 12/08/15 Entered 12/08/15 16:46:28                  Desc
                              Main Document     Page 5 of 6



 1           27.     Based on the allegations contained in this Complaint, Plaintiff is entitled to
 2   recovery of transfers made to Defendant in accordance with 11 U.S.C. §§ 544 and 548.
 3
             28.     Accordingly, Plaintiff is entitled to a recovery of all such avoided transfers under
 4
     Sections 550 and 551 of the Bankruptcy Code.
 5
                                         FOURTH CLAIM FOR RELIEF
 6

 7
                                                    Accounting

 8           29.     Plaintiff realleges and incorporates the allegations contained at paragraphs 1

 9   through 28 as though fully set forth herein.
10           30.     Based on the foregoing, Defendant’s conduct in obtaining any of the transfers
11
     referenced herein was fraudulent, and done with willful and malicious intent.
12
             31.     In furtherance of this fraudulent conduct, Defendant has at all times failed and
13
     refused to provide credits for payments made by the Debtor or to ascertain charges made by
14

15   Defendant, and to otherwise provide an accounting of any amounts purportedly due to Defendant.

16           32.     Based on the foregoing, there is an unknown amount due by the Debtor to

17   Defendant.
18
             33.     The amount, if any, due by the Debtor to Defendant cannot be ascertained without
19
     an accounting by Defendant for same.
20
                                         FIFTH CLAIM FOR RELIEF
21
                                             Disallowance of Claim
22

23           34.     Plaintiff realleges and incorporates the allegations contained at paragraphs 1

24   through 33 as though fully set forth herein.
25           35.     Although Defendant has not yet filed a proof of claim, and the bar date for doing so
26
     has passed, Plaintiff requests that any proof of claim which may be filed by the Defendant in the
27
     future be denied in its entirety.
28

                                                        4
Case 2:13-bk-39026-BR         Doc 116 Filed 12/08/15 Entered 12/08/15 16:46:28                  Desc
                               Main Document     Page 6 of 6



 1                                                      PRAYER
 2           WHEREFORE, Plaintiff prays for judgment as follows:
 3           1.       As to the First Claim for Relief, for a judgment against Defendant that the 544
 4   Transfers by the Debtor to Defendant are avoidable under 11 U.S.C. § 544 in the amount of at
 5
     least $1,747,376.00, or for such other and further amount as may be proven at trial;
 6
             2.       As to the Second Claim for Relief, for a judgment that the 548 Transfers by the
 7
     Debtor to Defendant are avoidable under 11 U.S.C. § 548 in the amount of at least $873,688.00, or
 8

 9
     for such other and further amount as may be proven at trial;

10           3.       As to the Third Claim for Relief, for a judgment for recovery under 11 U.S.C.

11   §§550 and 551 as to all transfers avoided under 11 U.S.C. §§ 544 and 548;
12           4.       As to the Fourth Claim for Relief, for an accounting of all amounts transferred to
13
     the Defendant in the past four (4) years;
14
             5.       As to the Fifth Claim for Relief, that any claim filed by Defendant be denied in its
15
     entirety;
16

17           6.       As to all Claims for Relief, for costs of suit incurred herein, including, without

18   limitation, attorneys’ fees; and

19           7.       As to all Claims for Relief, for such other and further relief as the Court deems just

20   and proper.

21

22
     DATE:        December 8, 2015                           LAW OFFICE OF ROBERT M. ARONSON
23

24                                                           By:/s/ Robert M. Aronson________________
                                                             Robert M. Aronson [Proposed]
25                                                           Special Counsel for Chapter 7 Trustee Sam
                                                             Leslie
26

27

28

                                                         5
